Case 4:23-cv-01221-P Document 39-1 Filed 04/08/24   Page 1 of 8 PageID 524




                 APPENDIX
  Case 4:23-cv-01221-P Document 39-1 Filed 04/08/24                   Page 2 of 8 PageID 525



     UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT
                OF TEXAS FORT WORTH DIVISION


Hobby Distillers Association, Rick Morris,
Thomas O. Cowdrey III, Scott McNutt,
John Prince III

               Plaintiffs,

       v.
                                                              Case No. 4:23-cv-1221-O
Alcohol and Tobacco Tax and Trade Bureau;
Department of Justice                                Declaration of Robert M. Angelo

               Defendants.




 I, Robert M. Angelo, hereby declare and certify as follows:

 1. I have been an employee of the Alcohol and Tobacco Tax and Trade Bureau (TTB) and its

     predecessor agency, the Bureau of Alcohol, Tobacco, Firearms and Explosives, for 32 years.

     Currently, I am the Director of the Trade Investigations Division at the Office of Field

     Operations of TTB, United States Department of the Treasury. The statements made herein

     are based on my personal knowledge and information obtained in my official capacity.

 2. On or about March 2014, TTB civil investigators, under my supervision, conducted a joint

     operation with special agents from the Florida Division of Alcoholic Beverages and

     Tobacco (DABT), targeting the illegal possession of stills and the illegal production of

     distilled spirits. The joint operation focused on individuals who may have been operating

     unregistered stills in order to put them on notice about the legal requirements for producing

     distilled spirits. It did not specifically target potential violations of 26 U.S.C. § 5601(a)(6)

     nor were any federal charges filed. The unlicensed possession of a still and unlicensed

                                             Page 1 of 3

                                                                                                   001
    Case 4:23-cv-01221-P Document 39-1 Filed 04/08/24                               Page 3 of 8 PageID 526



       production of distilled spirits in Florida are criminal offenses under provisions of Florida

       law that DABT enforces. See, e.g., FLA. STAT. § 562.27.

    3. TTB did not initiate any federal enforcement actions or criminal investigations in

       connection with the joint operation.

    4. The joint operation involved identifying still purchasers in Florida and visiting the locations

       where the stills were received. During the joint operation, DABT addressed situations

       involving the discovery of unlicensed stills or distilled spirits suspected of being illegally

       produced under state law, in accordance with DABT protocols and procedures. As a result

       of the joint operation, DABT agents arrested 8 individuals for violations of state law and

       seized 46 stills.

    5. In connection with the joint operation, TTB identified approximately 8,136 individuals who

       had purchased stills, using data contained in customer lists that TTB obtained from three

       large still manufacturers. TTB then sent letters to individuals identified from the still

       manufacturers’ customer listings. The letters informed the still purchasers of the potential

       legal consequences associated with the illegal production of distilled spirits. 1 TTB also

       enclosed with each letter a copy of a TTB press release, which had been posted to TTB’s

       website, providing an overview of TTB’s joint operation with the Florida DABT. One of

       these letters, with attached copy of the TTB press release, was sent to Plaintiff Scott



1
  For example, the letter stated, “Unlawful production of distilled spirits is a criminal offense, punishable by a fine of
up to $500,000 and/or imprisonment for not more than 5 years, and may result in the forfeiture of your real and
personal property.” Although the criminal penalties in 26 U.S.C. § 5601, specifically related to distilling, rectifying,
and distilled and rectified products, provide for a fine of up to $10,000 for each offense, there are other criminal
provisions potentially applicable to unlawful production of distilled spirits that establish higher maximum fines. For
example, the general criminal fine statute, 18 U.S.C. § 3571, provides for higher maximum fines than those
specified in the statute of conviction, unless the convicting statute specifically exempts the offense from section
3571 applicability. Section 3571(c)(3) provides for a $500,000 maximum fine for an organization convicted of a
felony. In addition, 26 U.S.C. § 7201, which sets forth penalties for attempts to “evade or defeat any tax imposed by
this title or the payment thereof,” provides for a fine of up to $500,000 for a corporation.

                                                      Page 2 of 3

                                                                                                                      002
  Case 4:23-cv-01221-P Document 39-1 Filed 04/08/24                    Page 4 of 8 PageID 527



     McNutt. The first two pages of the Appendix to Plaintiffs’ Reply appear to consist of this

     letter and press release. TTB did not pursue any enforcement action against Mr. McNutt

     associated with the activities identified in this letter and press release.




       I declare under penalty of perjury that the foregoing is true and correct.

DATED this 8th day of April 2024.

                                                                     Digitally signed by
                                              Robert M.              Robert M. Angelo
                                                                     Date: 2024.04.08
                                              Angelo                 10:07:32 -04'00'
                                               ________________________________
                                               Robert M. Angelo
                                               Director, Trade Investigations Division
                                               Alcohol and Tobacco Tax and Trade Bureau
                                               U.S. Department of the Treasury




                                              Page 3 of 3

                                                                                                  003
   Case 4:23-cv-01221-P Document 39-1 Filed 04/08/24                  Page 5 of 8 PageID 528



     UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT
                OF TEXAS FORT WORTH DIVISION


Hobby Distillers Association, Rick Morris,
Thomas O. Cowdrey III, Scott McNutt,
John Prince III

               Plaintiffs,

       v.
                                                             Case No. 4:23-cv-1221-O
Alcohol and Tobacco Tax and Trade Bureau;
Department of Justice                                Declaration of James C. Ebert

               Defendants.




       I, James C. Ebert, hereby declare and certify as follows:

       1. I have been an employee of the Alcohol and Tobacco Tax and Trade Bureau (TTB) for

            17 years. Currently, I am the Deputy Assistant Administrator, Office of Permitting and

            Taxation of TTB, United States Department of the Treasury. The statements made

            herein are based on my personal knowledge and information obtained in my official

            capacity.

       2. In my official capacity, I oversee TTB’s Application Services Division and Call

            Center.

       3. In my official capacity, I have access to TTB’s Call Center records as well as records

            related to applications, registrations, and notices required by the Internal Revenue

            Code (IRC) and Federal Alcohol Administration Act (FAA Act) before engaging in

            certain activities involving the production or use of alcohol.



                                              Page 1 of 4

                                                                                                   004
Case 4:23-cv-01221-P Document 39-1 Filed 04/08/24               Page 6 of 8 PageID 529



   4. To maintain these records, TTB uses secure electronic systems.

   5. TTB’s Permits Online electronic system (PONL) allows applicants to upload

      documents and submit the information necessary to complete the required forms.

   6. I am familiar with PONL and have access to the records maintained by TTB in PONL

      and other TTB systems. As part of my duties as the Deputy Assistant Administrator,

      Office of Permitting and Taxation, I have had employees in my directorate conduct

      searches reasonably calculated to determine whether Scott McNutt submitted the

      materials required for an Alcohol Fuel Plant (AFP) registration.

   7. As a result of the aforementioned search TTB has determined that its records show

      Scott McNutt submitted a registration for an AFP on June 30, 2014 that was approved

      July 24, 2014. His AFP is still effective. TTB believes this is the AFP referenced in

      paragraphs 21 and 28 of Plaintiff’s complaint.

   8. TTB’s Call Center is reached by dialing 877-882-3277, and is the general phone

      number provided on TTB’s website (TTBGov - Contact the National Revenue Center

      at TTB) for individuals or entities to call when they have a question related to TTB-

      regulated commodities. The types of inquiries that the Call Center receives generally

      include questions about permit applications and amendments, tax and compliance

      matters, and online systems help.

   9. TTB’s Call Center is currently staffed by 11 Call Center Specialists. TTB’s Call Center

      Specialists handled over 24,000 calls in calendar year 2023 covering a wide variety of

      inquiries.

   10. Call Center Specialists attempt to resolve inquiries over the phone based on their

      general knowledge, but on occasion will need to research a topic or question to be able



                                        Page 2 of 4

                                                                                              005
   Case 4:23-cv-01221-P Document 39-1 Filed 04/08/24                   Page 7 of 8 PageID 530



          to provide an answer to or otherwise assist a caller. Given the volume of calls received

          by the Call Center and limited number of staff, follow up research is only conducted

          when indicated as necessary. TTB also provides information on its website related to

          the permit application process, processing timelines, etc.

          https://www.ttb.gov/nrc/permits.

       11. Call Center Specialists do not make final determinations or decisions regarding permit

          applications or tax matters.

       12. TTB’s Upstream Works for Finesse electronic call recording system (Upstream) allows

          Call Center Specialists track questions and requests they receive by maintaining

          various caller information including voice recordings of the calls themselves.

       13. I am familiar with Upstream and have access to the records maintained by TTB in

          Upstream and other TTB systems. As part of my duties as Deputy Assistant

          Administrator, Office of Permitting and Taxation, I asked employees in my directorate

          to conduct searches reasonably calculated to determine whether Plaintiffs’ counsel in

          this case contacted TTB through the Call Center on or around November 27, 2023.

       14. As a result of the aforementioned search, TTB has determined that Plaintiffs’ Counsel

          contacted the Call Center on November 27, 2023, and spoke to a staff-level Call

          Center Specialist regarding questions about permits to distill alcohol at home.



       I declare under penalty of perjury that the foregoing is true and correct.

DATED this 8th day of April 2024.




                                             Page 3 of 4

                                                                                               006
Case 4:23-cv-01221-P Document 39-1 Filed 04/08/24        Page 8 of 8 PageID 531

                                James C. Ebert Digitally
                                                Ebert Jr.
                                                          signed by James C.

                                                Date: 2024.04.08 10:51:08
                                Jr.
                                ________________________________
                                                -04'00'

                                 James C. Ebert
                                 Deputy Assistant Administrator
                                 Office of Permitting and Taxation
                                 Alcohol and Tobacco Tax and Trade Bureau
                                 U.S. Department of the Treasury




                                Page 4 of 4

                                                                               007
